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                                              U.S. Department of Justice

                                              Office of Special Counsel



                                              Washington, D.C. 20530


                                              December 18, 2023

Honorable Mark Langer
Clerk of the Court
U.S. Court of Appeals for the District of Columbia Circuit
E. Barrett Prettyman U.S. Courthouse
333 Constitution Ave., NW, Room 5205
Washington, DC 20001

      Re:    United States v. Donald J. Trump, No. 23-3190

Dear Mr. Langer:

       On December 8, 2023, the Court issued a partially redacted opinion in the
above-referenced matter and entered an order directing the parties to show cause, on
or before December 18, 2023, why the redacted portions of the Court’s opinion should
not be unsealed. As the Court encouraged, the parties hereby respond jointly. Having
reviewed the referenced materials from the district court litigation and the Court’s
opinion, the Appellant maintains that the referenced material should not be sealed
for the reasons presented to the district court in his opposition to the motion to seal
below, and the Government concludes that the Court’s anonymization of the
referenced individuals assuages the concerns that led it to move to seal certain
material in the district court. See ECF No. 55 (order). Accordingly, the parties do
not oppose unsealing the panel’s opinion without redactions.

                                                       Respectfully submitted,


                                              By:      /s/ Cecil W. VanDevender
                                                       Cecil W. VanDevender
                                                       Assistant Special Counsel
                                                       950 Pennsylvania Avenue, NW
                                                       Washington, D.C. 20530

cc:   D. John Sauer, Esq.
      John F. Lauro, Esq.
      Emil Bove, Esq.
      William O. Scharf, Esq.
      Michael E. Talent, Esq.
